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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
       v                                        )        CR. NO. 3:09cr96-WKW
                                                )                (WO)
JAMES HAROLD GRIFFITH                           )

              RECOMMENDATION OF THE MAGISTRATE JUDGE

                                      I. Introduction

       On September 3, 2009, the defendant, James Harold Griffith (“Griffith”), was charged

in a superseding indictment with knowingly and intentionally manufacturing 50 grams or

more of methamphetamine in violation of 21 U.S.C. § 841(a)(1), knowingly using and

carrying firearms during and in relation to a drug trafficking crime in violation of 18 U.S.C.

§ 924(c)(1)(A)(i), knowingly opening, leasing, renting, using and maintaining a place for the

purpose of manufacturing, distributing and using methamphetamine in violation of 21 U.S.C.

§ 856(a)(1), and knowingly and intentionally possessing a mixture or substance containing

a detectable amount of methamphetamine in violation of 21 U.S.C. § 844(a). (Doc. # 58).

In addition, Griffith was charged in two counts with being a felon in possession of a firearm

in violation of 18 U.S.C. § 922(g)(1). (Id.).

       Now pending before the court is Griffith’s motion to suppress all evidence seized

without a warrant and all statements made during the search of his house at 154 West Ridge

Road, Dadeville, Alabama. (Doc. # 55). The court held an evidentiary hearing on the motion

on September 29, 2009. Based on the evidence presented to the court and argument of the

parties, the court concludes that the motion to suppress is due to be denied.
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                                          II. Facts

       Prior to February 25, 2008, Tallapoosa County Narcotics Investigator Josh McAllister

(“McAllister”) received information that Griffith was cooking methamphetamine at the West

Ridge Road residence. On February 25, 2008, McAllister and Tallapoosa County Narcotics

Investigators Fred White (“White”) and Cliff Scott (“Scott”) drove by the residence to try to

confirm the information. When they drove by the West Ridge Road residence, the officers

observed a man working on a motorcycle in the front yard.

       Armed with an arrest warrant for Griffith for failing to appear in a child support case,

McAllister, White and Scott approached the residence to execute the arrest warrant. When

they pulled into the yard, nobody was outside. McAllister knocked on the front door but got

no response. Griffith then came out of another door on the house’s front which Griffith

identified as leading to his bedroom. McAllister informed Griffith that he was under arrest

for the failure to appear warrant. McAllister handcuffed Griffith and searched him incident

to his arrest. During the search, McAllister discovered a vial in Griffith’s pocket that

contained methamphetamine.

       McAllister then told Griffith that they were at his house because they had received

complaints that Griffith was cooking methamphetamine. McAllister asked Griffith if they

could go inside the house and talk. McAllister also told Griffith that he would like consent

to search the residence, and Griffith gave him consent. According to McAllister, Griffith

also said he “had items that he had cooked with;” he would show the officers those things




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and that he “knew this was coming - I am glad this is over with.” 1 Griffith, McAllister and

White then went into the house.

        When they entered the house, White asked Griffith about the man they had seen in the

yard. Griffith indicated that the man, Lewis Flowers 2 (“Flowers”), was down the hallway in

one of the bedrooms. Griffith and White called Flowers to come out. Because White had

information that Flowers carried a firearm at all times and White saw a rifle propped against

the wall in the hallway, White pulled out his service weapon. When Flowers came out of the

bedroom with his hands in the air, White holstered his weapon.

        Flowers and Griffith were taken out of the residence. While outside, White read

Miranda warnings to Griffith and Flowers. McAllister then took Griffith back into the

residence. Griffith was very cooperative, walking McAllister around the property, pointing

out various items used in the manufacturing of methamphetamine.3

        Griffith was later transported to the Tallapoosa County Jail. The next day, McAllister

advised Griffith of his Miranda rights and asked him for a written statement. Griffith waived

his right to counsel and gave McAllister a statement. McAllister typed as Griffith spoke and



        1
           During the evidentiary hearing, Griffith testified that he knew his ex-girlfriend had called the
officers and told them where at the house the methamphetamine paraphernalia was located. According to
Griffith, McAllister told him he needed to “quit pissing these women off.”
        2
          Lewis Flowers is Griffith’s co-defendant in this case. Flowers has entered a guilty plea and is
awaiting sentencing.
        3
            The officers recovered the following items: numerous pipes and foil used to smoke
methamphetamine; numerous scales, hemostats, beakers, syringes, plates, ph paper, strike plates; iodine and
phosphorous mixture, drain opener, heet, lighter fluid, hydrogen peroxide, lye, acetone, denatured alcohol,
muriatic acid, and a jar containing pseudo. The officers also recovered 5 firearms and ammunition.

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then Griffith signed the statement. Griffith concedes that the written statement was an

accurate transcription of his oral statement. In the statement, Griffith admits to using and

making methamphetamine.4

                                            III. Discussion

                            A. The West Ridge Road House Search

        Griffith asserts that the evidence seized and statements made during and after the

warrantless search of his residence should be suppressed because his consent to search the

house was not voluntarily given. The sole issue raised by the motion to suppress is whether

Griffith’s consent was obtained by coercion.

        It is a fundamentally basis tenet of criminal law that the Fourth Amendment protects

“[t]he right of the people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures.” U.S. C ONST. A MEND. IV.5 See also Minnesota v.

Carter, 525 U.S. 83, 88 (1998). The Amendment’s primary purpose is to protect citizens

from unwarranted governmental intrusion and to prevent abusive police power. See Johnson

v. United States, 333 U.S. 10, 13 (1948); United States v. Mendenhall, 446 U.S. 544, 553-54

(1980) (plurality opinion). The Fourth Amendment draws a firm line at the threshold of a

residence because “‘[a]t the very core of the Fourth Amendment stands the right of a man to


        4
            Based on the development of the facts at the hearing and the argument of counsel which was
limited to the voluntariness issue, the court concludes that Griffith has waived any independent challenge
to this statement.
        5
          Specifically, the Fourth Amendment provides that “[]he right of the people to be secure in their
persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be violated, and
no Warrants shall issue, but upon probable cause, supported by Oath or affirmation, and particularly
describing the place to be searched, and the persons or things to be seized.”

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retreat into his own home and there be free from unreasonable governmental intrusion.’”

Payton v. New York, 445 U.S. 573, 589-90 (1980) (quoting Silverman v. United States, 365

U.S. 505, 511 (1961)). Unless consent is given or exigent circumstances exist, police

officers must obtain a warrant supported by probable cause to justify a search under the

Fourth Amendment. United States v. Magluta, 418 F.3d 1166, 1182 (11th Cir.2005); Payton,

supra. A search of property without a warrant and probable cause is constitutionally

permissible if preceded by valid consent. United States v. Dunkley, 911 F.2d 522, 525 (11 th

Cir. 1990).

       During the hearing, Griffith testified that he did not give McAllister consent to search

the house on West Ridge Road. McAllister, on the other hand, testified that Griffith gave

consent and then offered to show him where the incriminating evidence was located. Given

that the testimony of Griffith and McAllister are conflicting, the court must determine the

credibility of the testimony. The court recognizes that it is improper to determine credibility

based on the “status” of a witness. United States v. Ramirez-Chilel, 289 F.3d 744, 749 (11 th

Cir. 2002). Thus, McAllister’s status as a police officer is not determinative. Rather, the

court must weigh the testimony of these two witnesses in light of all the facts, taking into

account their interests, the consistencies or inconsistencies in their testimony, and their

demeanor on the stand. Gallego v. United States, 174 F.3d 1196, 1198 (11 th Cir. 1999).

When weighing the testimony of Griffith with the testimony of other witnesses, the court

finds that Griffith’s testimony is not credible. As the defendant in this matter, his interest in

the outcome of this case militates against his veracity in this regard. Moreover, Griffith

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testified that immediately before the officers arrived at the residence, he and Flowers were

smoking methamphetamine which does not give the court any confidence in his recollection

of the events. The court concludes that Griffith was not credible and, therefore, McAllister

asked for and received consent from Griffith to search.

       The next question for the court is to determine whether Griffith’s consent was

voluntary.

       Whether an individual’s consent to a warrantless search was given voluntarily
       is a question of fact that must be decided in light of the totality of the
       circumstances. Schneckloth v. Bustamonte, supra, 412 U.S. [218], 227, 93
       S.Ct. [2041], 2047 [(1973)]. Further, “‘[t]he government bears the burden of
       proving . . . that the consent was not a function of acquiescence to a claim of
       lawful authority but rather was given freely and voluntarily.’”

United States v. Gonzalez, 71 F.3d 819, 828 (11 th Cir. 1996) quoting United States v.

Hidalgo, 7 F.3d 1566, 1571 (11 th Cir. 1993). See also United States v. Villanueva-Fabela,

202 Fed. Appx. 421, 426 (11 th Cir. 2006) (No. 05-15156); United States v. Brown, 223 Fed.

Appx. 875 (11 th Cir. 2007) (No. 06-15064).

       A consensual search is constitutional if it is voluntary, i.e. the product of an essentially

free and unconstrained choice. United States v. Purcell, 236 F.3d 1274, 1281 (11 th Cir.

2001); United States v. Garcia, 890 F.2d 355, 360 (11 th Cir. 1989) (citing Culombe v.

Connecticut, 367 U.S. 568, 602 (1961)). Voluntariness is a factual assessment and depends

on the totality of the circumstances. Purcell, supra. In evaluating voluntariness, the court

considers several factors, including the presence of coercive police procedures, the extent of

the individual’s cooperation with the officers, the individual's awareness of his right to refuse



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consent, the individual's education and intelligence, and the individual's belief that no

incriminating evidence will be found. Id. See also United States v. Holmes, 270 Fed. Appx.

767, 768 (11 th Cir. 2008) (No. 07-12004)

       In this case, the Government submitted Griffith’s statement, in which he

acknowledged that “the reason [he] wanted to show [the officers] all of the stuff was [he]

wouldn’t have a reason to fall back on it.” (Gov’t Ex. 3). Griffith argues that his consent

was coerced because the officers took him back into his house after he was arrested and

handcuffed, and then drew their weapons while in the house. The fact that Griffith was in

his own living room actually militates against coercion. See Garcia, 890 F.2d at 361 (“We

submit that one would feel more comfortable and free from pressure when he is in his own

living room than when he is lying in the grass on the edge of the street.”)

       The fact that Griffith was under arrest and in handcuffs is but one factor for the court

to consider. See Villanueva-Fabela, 202 Fed. Appx. at 427. There is no evidence before the

court that “these officers employed any tactics that would augment the degree of coercion

that is inherent in any arrest.” Garcia, 890 F.2d at 362. There is no evidence that Griffith

was harassed or intimidated by the officers, id., or that abusive language or physical threats

were leveled against Griffith. See United States v. Espinona-Orlando, 704 F.2d 507, 513

(11 th Cir. 1983).

       During the hearing, White testified that he drew his weapon upon entering the house

because Griffith told him that Flowers was in a back bedroom and White had information

that Flowers always carried a firearm. Griffith does not assert, and there is no evidence to

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suggest, that White pointed his gun at him. “[T]he “show of force” to which [Griffith] refers

was minimal” and occurred after Griffith gave his consent.6 See Brown, 223 Fed. Appx. at

880.

        Courts have found consent to be voluntary in factual scenarios more coercive than that

described by Griffith. For example, in United States v. Espinosa-Orlando, the court found

consent voluntary where the consenting individual was arrested at gunpoint and consented

to the search of his automobile while lying on the ground and while one officer had a weapon

drawn. 704 F.2d at 513. In United States v. Hidalgo, consent was voluntary where the

defendant was “arrested by SWAT team members who broke into his home in the early

morning, woke him, and forced him to the ground at gunpoint.” 7 F.3d at 1571. In United

States v. Garcia, the consenting individual was arrested and handcuffed in the presence of

fourteen law enforcement officers when consent was provided. 890 F.2d at 362 . In each

of these cases, consent was found to be voluntary despite evidence of some physical

coercion. The situation described by Griffith, that he was taken into his own home in

handcuffs, does not rise to the level necessary to invalidate his consent to search the house.

This court therefore concludes that Griffith’s consent to search the house was voluntary.

                                           CONCLUSION

        For the reasons as stated, this court concludes that the defendant’s constitutional rights

were not violated, and it is the RECOMMENDATION of the Magistrate Judge that the


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          The fact that Griffith gave consent prior to being given Miranda warnings “does not invalidate the
consent.” See United States v. Villanueva-Fabela, 202 Fed. Appx. 421, 427 (11th Cir. 2006) (No. 05-15156).


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defendant’s motion to suppress be DENIED. It is further

       ORDERED that the parties shall file any objections to the said Recommendation on

or before October 13, 2009. Any objections filed must specifically identify the findings in

the Magistrate Judge’s Recommendation to which the party objects. Frivolous, conclusive

or general objections will not be considered by the District Court. The parties are advised

that this Recommendation is not a final order of the court and, therefore, it is not appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge's report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5 th Cir. 1982). See Stein

v. Reynolds Securities, Inc., 667 F.2d 33 (11 th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11 th Cir. 1981, en banc), adopting as binding precedent all of the

decisions of the former Fifth Circuit handed down prior to the close of business on

September 30, 1981.

       Done this 1 st day of October, 2009.


                                         /s/Charles S. Coody
                                    CHARLES S. COODY
                                    CHIEF UNITED STATES MAGISTRATE JUDGE




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